              Case 16-18931-mdc                        Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 1 of 55
 Fill in this information to identify the case:

 Debtor name         North Philadelphia Health System

 United States Bankruptcy Court for the:            EASTERN DISTRICT OF PENNSYLVANIA

 Case number (if known)           16-18931-mdc
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $3,002.10         $3,002.10
           Alberto Millos, M.D.                                      Check all that apply.
           7941 New Second Street                                       Contingent
           Elkins Park, PA 19027                                        Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           April 2011                                                Employee Claim
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                         $838.00         $838.00
           Alex Jessly, C.R.N.P                                      Check all that apply.
           6500 Tabor Avenue                                            Contingent
           Philadelphia, PA 19111-5332                                  Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
           September 2016                                            Employee Expenses
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                   23247                               Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 2 of 55
 Debtor       North Philadelphia Health System                                                                Case number (if known)   16-18931-mdc
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $873.00    $873.00
          Alvin Scott McNeal, D.O.                                   Check all that apply.
          2014 Jesse Circle                                             Contingent
          Collegeville, PA 19426                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          September 2015                                             Employment Services
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,029.38    $1,029.38
          Elena Y. Karzova, M.D.                                     Check all that apply.
          2350 Tremont Street                                           Contingent
          Unit 303                                                      Unliquidated
          Philadelphia, PA 19155                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          Dceember 2016                                              Employee Reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,413.00    $1,413.00
          Girish J. Shah, M.D.                                       Check all that apply.
          801 W. Girard Avenue                                          Contingent
          Philadelphia, PA 19122                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          October 2016                                               Mcare Premium
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,154.00    $1,154.00
          Jasmine K. Gill, M.D.                                      Check all that apply.
          561 Fairthorne Ave                                            Contingent
          Philadelphia, PA 19128                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          December 2016                                              Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 2 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 3 of 55
 Debtor       North Philadelphia Health System                                                                Case number (if known)   16-18931-mdc
              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $769.00    $769.00
          Joji Thomas, C.R.N.P.                                      Check all that apply.
          9659 Sandanne Road                                            Contingent
          Philadelphia, PA 19115-2727                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          August 2016                                                Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $248.14    $248.14
          Kenneth J. Martin, D.P.M.                                  Check all that apply.
          788 Periwinkle Drive                                          Contingent
          Wynnewood, PA 19096                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          August 2015                                                Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $370.00    $370.00
          Lisa D. Prybella, R.N.                                     Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          June 2015                                                  Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $817.80    $817.80
          Lisa M. Maldonado, M.D.                                    Check all that apply.
          628 W. Germantown Pike                                        Contingent
          Lafayette Hill, PA 19144                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          December 2016                                              Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 3 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 4 of 55
 Debtor       North Philadelphia Health System                                                                Case number (if known)   16-18931-mdc
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $600.00    $600.00
          Mao-Hsiung Chen, M.D                                       Check all that apply.
          1724 Waterford Way                                            Contingent
          Maple Glen, PA 19002                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2014                                                 Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,250.00    $1,250.00
          Mohammad Sayeed, M.D.                                      Check all that apply.
          201 Foulke Lane                                               Contingent
          Springfield, PA 19064                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          December 2015                                              Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,944.17    $1,944.17
          Monika T. Van Sant, D.O.                                   Check all that apply.
          4324 Frankford Ave.                                           Contingent
          Philadelphia, PA 19124                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          March 2014                                                 Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                            $33.40    $33.40
          Mr. Esteban Raspaldo                                       Check all that apply.
          170 West Oxford Street                                        Contingent
          Philadelphia, PA 19122                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          May 2015                                                   Employee Expense
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 4 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 5 of 55
 Debtor       North Philadelphia Health System                                                                Case number (if known)   16-18931-mdc
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,426.00    $1,426.00
          Mr. James Glendora                                         Check all that apply.
          1406 E. Mt Pleasant Ave                                       Contingent
          Philadelphia, PA 19150-2004                                   Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2014                                                 Employee Expense
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Mr. Jose Tirado                                            Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          October 2016                                               Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $477.65    $477.65
          Mr. Tony Iero                                              Check all that apply.
          801 W. Girard Avenue                                          Contingent
          Philadelphia, PA 19122                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          September 2016                                             Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Ms. Ada Colon                                              Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          August 2016                                                Employee Claim
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 5 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 6 of 55
 Debtor       North Philadelphia Health System                                                                Case number (if known)   16-18931-mdc
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $570.00    $570.00
          Ms. Aisha Neal                                             Check all that apply.
          6028 Cobbs Creek Parkway                                      Contingent
          Lansdowne, PA 19050-8214                                      Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          December 2016                                              Employee Claim
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $342.70    $342.70
          Ms. Catherine E. Kutzler                                   Check all that apply.
          1416 Pepper Road                                              Contingent
          Rydal, PA 19046-2323                                          Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          October 2015                                               Employment Obligations
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Ms. Ella Gutman                                            Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          May 2015                                                   Employee Expense
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $175.00    $175.00
          Ms. Frieda Stewart                                         Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          December 2016                                              Employee Expense
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 6 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 7 of 55
 Debtor       North Philadelphia Health System                                                                Case number (if known)   16-18931-mdc
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $799.00    $799.00
          Ms. Jodi West-Brooks                                       Check all that apply.
          119 Hilldale Road                                             Contingent
          Lansdowne, PA 19050                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          August 2016                                                Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $458.00    $458.00
          Ms. Laura Boston-Jones                                     Check all that apply.
          801 W. Girard Avenue                                          Contingent
          Philadelphia, PA 19122                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          November 2016                                              Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $200.00    $200.00
          Ms. Leslie Sorg, R.N.                                      Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          March 2015                                                 Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Ms. Linda Tucker                                           Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          April 2013                                                 Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 7 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 8 of 55
 Debtor       North Philadelphia Health System                                                                Case number (if known)   16-18931-mdc
              Name

 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                           $170.00    $170.00
          Ms. Marian Sidebotham                                      Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          June 2015                                                  Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Ms. Maribel Gonzalez                                       Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          November 2016                                              Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $1,500.00    $1,500.00
          Ms. Rony Sunjo                                             Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
          October 2011                                               Employee Expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $16,898.74    $12,850.00
          Steven Mill, M.D.                                          Check all that apply.
          1600 Haggys Road                                              Contingent
          Apartment 10F                                                 Unliquidated
          Narberth, PA 19072                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
          November 2010                                              Employee Reimbursements
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 8 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
              Case 16-18931-mdc                        Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                                            Desc
                                                            Schedule E/F Page 9 of 55
 Debtor        North Philadelphia Health System                                                               Case number (if known)          16-18931-mdc
               Name

 2.31       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                                       $1,500.00    $1,500.00
            Trasi Lynn Crumrin, D.O.                                 Check all that apply.
            Covenant Medical Group                                      Contingent
            3037 Silverwood Dr                                          Unliquidated
            Saginaw, MI 48603                                           Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Employee Expenses
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                       Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $31,690.59
           3M Tech                                                                     Contingent
           PO Box 371227                                                               Unliquidated
           Pittsburgh, PA 15250                                                        Disputed
           Date(s) debt was incurred     October 2016                              Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $731.95
           A Helping Hand Healthmed                                                    Contingent
           609 Abbey Court                                                             Unliquidated
           Benicia, CA 94510-3733                                                      Disputed
           Date(s) debt was incurred June2016
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $14,400.00
           A Plus Ultrasound Temps                                                     Contingent
           900 W 49 St. 3 530                                                          Unliquidated
           Hialeah, FL 33012                                                           Disputed
           Date(s) debt was incurred March 2014
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $1,350.00
           AACPM                                                                       Contingent
           15850 Cranes Branch Way                                                     Unliquidated
           Suite 320                                                                   Disputed
           Rockwood, MD 20855
                                                                                   Basis for the claim:     Trade debt
           Date(s) debt was incurred June 2015
           Last 4 digits of account number                                         Is the claim subject to offset?     No       Yes


 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $279.00
           Abbott Laboratories                                                         Contingent
           PO Box 100997                                                               Unliquidated
           Atlanta, GA 30384-0997                                                      Disputed
           Date(s) debt was incurred October 2016
                                                                                   Basis for the claim:     Trade debt
           Last 4 digits of account number
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                           Page 9 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                                   Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 10 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,560.00
          Ability Network Inc                                                   Contingent
          Dept Ch 16577                                                         Unliquidated
          Palatine, IL 60055-6577                                               Disputed
          Date(s) debt was incurred November 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $150.00
          Accent                                                                Contingent
          PO Box 952366                                                         Unliquidated
          Saint Louis, MO 63195                                                 Disputed
          Date(s) debt was incurred November 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $321,113.00
          Access Systems Integration                                            Contingent
          1 Industrial Way W                                                    Unliquidated
          Attn: Andrew Benson, Project Manager
                                                                                Disputed
          Eatontown, NJ 07724
          Date(s) debt was incurred 2014
                                                                             Basis for the claim:    Lease Obligations
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Accounts Recovery Bureau                                              Contingent
          P.O. Box 6768                                                         Unliquidated
          Wyomissing, PA 19610-0786                                             Disputed
          Date(s) debt was incurred February 2014
                                                                             Basis for the claim:    Collection Agency
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $38,181.54
          ADP                                                                   Contingent
          PO Box 7247-0351                                                      Unliquidated
          Philadelphia, PA 19170                                                Disputed
          Date(s) debt was incurred September 2016
                                                                             Basis for the claim:    Payroll Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,816.20
          Aelitho Offset Printers                                               Contingent
          450 Broad Street                                                      Unliquidated
          PO Box 9000                                                           Disputed
          Beverly, NJ 08010
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred May 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,924.99
          Aesculap Inc.                                                         Contingent
          PO Box 780426                                                         Unliquidated
          Philadelphia, PA 19178-0426                                           Disputed
          Date(s) debt was incurred April 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 10 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 11 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $35,208.00
          Aesynt Inc                                                            Contingent
          PO Box 787521                                                         Unliquidated
          Philadelphia, PA 19178-7521                                           Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,474.02
          Aetna Life Insurance Co                                               Contingent
          Recovery Department                                                   Unliquidated
          29406 Reliable Parkway                                                Disputed
          July 2013, IL 60686-0294
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $432,000.00
          Agfa Healthcare Corp.                                                 Contingent
          10 South Academy Street                                               Unliquidated
          Greenville, SC 29601
                                                                                Disputed
          Date(s) debt was incurred May 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,925.00
          Aiecycle                                                              Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,000.00
          Akin Gump Strauss Hauer & Feld                                        Contingent
          2001 Market Street                                                    Unliquidated
          Dept. 7247-6827                                                       Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred February 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Albert Einstein Medical                                               Contingent
          PO Box 8500 -7135                                                     Unliquidated
          Philadelphia, PA 19141                                                Disputed
          Date(s) debt was incurred July 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,040.00
          Alere North America, Inc                                              Contingent
          PO Box 846153                                                         Unliquidated
          Boston, MA 02284-6153                                                 Disputed
          Date(s) debt was incurred July 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 11 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 12 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,500.00
          Alert Plumbing & Heating                                              Contingent
          811 Stephen Road                                                      Unliquidated
          Warminster, PA 18974                                                  Disputed
          Date(s) debt was incurred July 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $695.00
          Aleyamma Mathew, M.D.                                                 Contingent
          5411 Old Frederick Rd                                                 Unliquidated
          #9                                                                    Disputed
          Baltimore, MD 21229
                                                                             Basis for the claim:    Services
          Date(s) debt was incurred March 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $781.00
          Ali Kadkhoda, D.O.                                                    Contingent
          1601 W. Girard Avenue                                                 Unliquidated
          Philadelphia, PA 19130                                                Disputed
          Date(s) debt was incurred November 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,526.80
          Alliqua Biomedical                                                    Contingent
          PO Box 926496                                                         Unliquidated
          Philadelphia, PA 19182-6496                                           Disputed
          Date(s) debt was incurred March 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $640.10
          Ama Remittance Control                                                Contingent
          Classified Advertising                                                Unliquidated
          PO Box 75888                                                          Disputed
          Chicago, IL 60675-5888
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred July 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,900.00
          American Arbitration Ass'n                                            Contingent
          230 South Broad Street                                                Unliquidated
          Philadelphia, PA 19102                                                Disputed
          Date(s) debt was incurred March 2012
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,468.00
          American Osteopathic Association                                      Contingent
          142 E. Ontario Street                                                 Unliquidated
          Chicago, IL 60611-2864                                                Disputed
          Date(s) debt was incurred December 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 12 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 13 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,631.76
          American Red Cross                                                    Contingent
          PO Box 33093                                                          Unliquidated
          Newark, NJ 07188-0093                                                 Disputed
          Date(s) debt was incurred February 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,294.75
          Ameritas Life Insurance                                               Contingent
          PO Box 56687                                                          Unliquidated
          Lincoln, NE 68501                                                     Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,493.00
          Amniox                                                                Contingent
          8305 NW 27th Street                                                   Unliquidated
          Suite 101                                                             Disputed
          Miami, FL 33122
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      October 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $638.17
          Angiodynamics                                                         Contingent
          PO Box 1549                                                           Unliquidated
          Albany, NY 12201-1549                                                 Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $300.00
          AODME                                                                 Contingent
          142 E Ontario Street                                                  Unliquidated
          Chicago, IL 60661                                                     Disputed
          Date(s) debt was incurred      September 2015                      Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Apex Asset Management LLC                                             Contingent
          PO Box 5907                                                           Unliquidated
          Lancaster, PA 17606-5407                                              Disputed
          Date(s) debt was incurred August 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,243.45
          Ardus Biomedical                                                      Contingent
          PO Box 23128                                                          Unliquidated
          Cincinnati, OH 45223-0128
                                                                                Disputed
          Date(s) debt was incurred January 2012
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 13 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 14 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Aria Health                                                           Contingent
          10800 Knights Road                                                    Unliquidated
          Philadelphia, PA 19114
                                                                                Disputed
          Date(s) debt was incurred March 2010
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $80.00
          Arizant                                                               Contingent
          10351 West 7th Street                                                 Unliquidated
          Eden Prairie, MN 55344                                                Disputed
          Date(s) debt was incurred September 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,552.00
          Arjohuntleigh Inc.                                                    Contingent
          PO Box 644960                                                         Unliquidated
          Pittsburgh, PA 15264                                                  Disputed
          Date(s) debt was incurred      April 2013                          Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $555.54
          Armstrong Medical Inc                                                 Contingent
          575 Knightsridge Pkwy                                                 Unliquidated
          Lincolnshire, IL 60069                                                Disputed
          Date(s) debt was incurred September 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $108,418.89
          Arthrex                                                               Contingent
          829 Lincoln Avenue, Suite C-1                                         Unliquidated
          Attn: Dave Evans, Capital Manager
                                                                                Disputed
          West Chester, PA 19380
          Date(s) debt was incurred 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,943.45
          ASD Healthcare                                                        Contingent
          PO Box 848104                                                         Unliquidated
          Dallas, TX 75264-8104                                                 Disputed
          Date(s) debt was incurred June 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,126.41
          AT&T                                                                  Contingent
          PO Box 5094                                                           Unliquidated
          Carol Stream, IL 60197-5094                                           Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 14 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 15 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $235,841.74
          Atlantic Diagnostic Laboratories                                      Contingent
          3520 Progress Drive                                                   Unliquidated
          Bensalem, PA 19020                                                    Disputed
          Date(s) debt was incurred July 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,586.50
          Axion LLC                                                             Contingent
          1430 Broadway                                                         Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred      September 2016                      Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,350.00
          B. Braun Interventional Systems                                       Contingent
          824 Twelfth Street                                                    Unliquidated
          Bethlehem, PA 18018-3524                                              Disputed
          Date(s) debt was incurred April 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $836.00
          Baker Healthcare                                                      Contingent
          Attn. Karen K. Siders                                                 Unliquidated
          4251 Reliable Parkway                                                 Disputed
          Chicago, IL 60686-0042
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $266,000.00
          Beckman Coulter, Inc.                                                 Contingent
          250 South Brea Boulevard                                              Unliquidated
          Brea, CA 92822-8000
                                                                                Disputed
          Date(s) debt was incurred November 2015
                                                                             Basis for the claim:    Trade debt05
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,669.37
          Behavioral Safety Products                                            Contingent
          29A N. Main Street                                                    Unliquidated
          Suite 3                                                               Disputed
          Watkinsville, GA 30677
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred August 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,271.33
          Bell Medical Inc.                                                     Contingent
          PO Box 771470                                                         Unliquidated
          Saint Louis, MO 63177-9816                                            Disputed
          Date(s) debt was incurred August 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 15 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 16 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $409.90
          Bio Medical Products Corp                                             Contingent
          10 Halstead Road                                                      Unliquidated
          Mendham, NJ 07945                                                     Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $240,475.00
          Bio-Medical Applications of PA, Inc.                                  Contingent
          Fresenius                                                             Unliquidated
          630 W. Germantown Pike
                                                                                Disputed
          Plymouth Meeting, PA 19462
          Date(s) debt was incurred March 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,467.49
          Bio-Rad Laboratories Inc.                                             Contingent
          Clinical Diagnostics Div.                                             Unliquidated
          PO Box 849740                                                         Disputed
          Los Angeles, CA 90084
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred September 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $24,018.70
          Biomerieux Vitek, Inc.                                                Contingent
          100 Rodolfe Street                                                    Unliquidated
          Durham, NC 27712                                                      Disputed
          Date(s) debt was incurred December 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,797.69
          Biomet Biologics                                                      Contingent
          75 Remittance Drive                                                   Unliquidated
          Suite 3283                                                            Disputed
          Chicago, IL 60675-3283
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred December 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $116.45
          Bionix Development Corp                                               Contingent
          PO Box 935                                                            Unliquidated
          Toledo, OH 43697                                                      Disputed
          Date(s) debt was incurred November 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,100.00
          Boxwood Technology Inc                                                Contingent
          11350 McCormick Road                                                  Unliquidated
          Hunt Valley, MD 21031                                                 Disputed
          Date(s) debt was incurred July 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 16 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 17 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,403.11
          BP Business Solutions                                                 Contingent
          PO Box 70995                                                          Unliquidated
          Charlotte, NC 28272-0995                                              Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $131.70
          Brasseler USA Medical LLC                                             Contingent
          One Brasseler Blvd                                                    Unliquidated
          Savannah, GA 31419                                                    Disputed
          Date(s) debt was incurred February 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,756.28
          Brink's Incorporated                                                  Contingent
          7373 Solutions Center                                                 Unliquidated
          Chicago, IL 60677-7003                                                Disputed
          Date(s) debt was incurred October 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Bryn Mawr Hospital                                                    Contingent
          Patient Payments                                                      Unliquidated
          PO Box 8500-4950                                                      Disputed
          Philadelphia, PA 19178-0001
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred June 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,099.44
          BSB Leasing Inc.                                                      Contingent
          PO Box 3704                                                           Unliquidated
          Seattle, WA 98124-3704                                                Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,216.72
          Buzby & Kutzler                                                       Contingent
          1416 Pepper Road                                                      Unliquidated
          Rydal, PA 19046-2323                                                  Disputed
          Date(s) debt was incurred April 2014
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $154,000.00
          Canterbury Consultants                                                Contingent
          The William Penn House                                                Unliquidated
          Apt 2215                                                              Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Consulting Fees
          Date(s) debt was incurred June 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 17 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 18 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $91,643.71
          Cardinal Health                                                       Contingent
          Medical Products & Service                                            Unliquidated
          PO Box 70539                                                          Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred December 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $60,860.43
          Cardinal Health Nuclear Pharmacy Service                              Contingent
          PO Box 70609                                                          Unliquidated
          Chicago, IL 60673-0609                                                Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $56,883.20
          Carefusion Alaris Products                                            Contingent
          25565 Network Place                                                   Unliquidated
          Rocky Hill, CT 06067-3000                                             Disputed
          Date(s) debt was incurred September 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $681.00
          Carefusion Solutions LLC                                              Contingent
          Pyxis Products                                                        Unliquidated
          25082 Network Place                                                   Disputed
          Chicago, IL 60673-1250
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred October 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,291.75
          Central Admixture Pharmacy                                            Contingent
          PO Box 512435                                                         Unliquidated
          Philadelphia, PA 19175-2435
                                                                                Disputed
          Date(s) debt was incurred April 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,990.28
          Centurion Medical Products                                            Contingent
          PO Box 842816                                                         Unliquidated
          Boston, MA 02284-2816                                                 Disputed
          Date(s) debt was incurred July 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $693,570.00
          Cerner                                                                Contingent
          51 Valley Stream Parkway                                              Unliquidated
          Attn: Nick Kozlowski
                                                                                Disputed
          Malvern, PA 19355-1406
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 18 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 19 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $200.00
          CHCA                                                                  Contingent
                                                                                Unliquidated
          Date(s) debt was incurred      May 2015                               Disputed
          Last 4 digits of account number                                    Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $88,894.00
          CHG-Meridian USA Corp                                                 Contingent
          260 N Charles Lindbergh Drive                                         Unliquidated
           NJ 08416                                                             Disputed
          Date(s) debt was incurred November 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,000.00
          Children's Hospital of Philadelphia                                   Contingent
          Hospital Billing                                                      Unliquidated
          3401 Civic Center Blvd,                                               Disputed
          Philadelphia, PA 19104
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred March 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,315.00
          Christiana Care                                                       Contingent
          PO Box 101926                                                         Unliquidated
          Birmingham, AL 35210                                                  Disputed
          Date(s) debt was incurred December 2013
                                                                             Basis for the claim:    Credit card purchases
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                  $0.00
          Christie & Young, Attorneys                                           Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:

                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Christie & Young, Attorneys                                           Contingent
          1880 John F Kennedy Blvd,                                             Unliquidated
          10th Floor                                                            Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Legal Services for Self-Insured Liability Claims
          Date(s) debt was incurred 2015-2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,292.96
          Cintas Corporation                                                    Contingent
          PO Box 630803                                                         Unliquidated
          Cincinnati, OH 45263                                                  Disputed
          Date(s) debt was incurred      February 2015                       Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 19 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 20 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,831.00
          College Of American Pathologists                                      Contingent
          PO Box 71698                                                          Unliquidated
          Chicago, IL 60694-1698                                                Disputed
          Date(s) debt was incurred January 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,148.79
          Colomy Painting & Decorating                                          Contingent
          210 West Girard Ave                                                   Unliquidated
          Philadelphia, PA 19123                                                Disputed
          Date(s) debt was incurred November 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $45.17
          Columbia Heating Supply                                               Contingent
          PO Box 377                                                            Unliquidated
          Pottstown, PA 19464                                                   Disputed
          Date(s) debt was incurred March 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $820,559.00
          Commonwealth of Pennsylvania                                          Contingent
          Department of Labor & Industries                                      Unliquidated
          Office of Unemployment Compensation Tax
                                                                                Disputed
          651 Boas Street, 10th Floor
          Harrisburg, PA 17121                                                              UC Reimbursement Obligations
                                                                             Basis for the claim:

          Date(s) debt was incurred July 2016
                                                                             Subsequent to Docketed Judgments
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,841.47
          Commonwealth of Pennsylvania                                          Contingent
          Department of Social Services                                         Unliquidated
          2589 Interstate Drive                                                 Disputed
          Harrisburg, PA 17110
                                                                             Basis for the claim:    Reimbursements
          Date(s) debt was incurred April 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $980,932.00
          Commonwealth of Pennsylvania
          Department of Human Services                                          Contingent
          Office of Medical Assistance Programs                                 Unliquidated
          625 Forster Street                                                    Disputed
          Harrisburg, PA 17110
                                                                             Basis for the claim:    Provider Advances
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,800,000.00
          Community Behavioral Health                                           Contingent
          801 Market Street                                                     Unliquidated
           7th Floor
                                                                                Disputed
          Philadelphia, PA 19107
          Date(s) debt was incurred
                                                                             Basis for the claim:    Advances on Provider Billings
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 20 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 21 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Complete Collection Service                                           Contingent
          4833 N Dixie Hwy                                                      Unliquidated
          Fort Lauderdale, FL 33334
                                                                                Disputed
          Date(s) debt was incurred March 2014
                                                                             Basis for the claim:    Collection Agency
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,032.00
          Compugroup Medical                                                    Contingent
          10715 Red Run Blvd                                                    Unliquidated
          Suite 101                                                             Disputed
          Owings Mills, MD 21117
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred October 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Conifer Health Solutions                                              Contingent
          Hahnemann University Hospital                                         Unliquidated
          Broad and Vine Streets                                                Disputed
          Philadelphia, PA 19102
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred April 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,046.41
          Cook Medical                                                          Contingent
          22988 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred      My 2015                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Cooper University Hospital                                            Contingent
          1 Cooper Plaza                                                        Unliquidated
          Camden, NJ 08103                                                      Disputed
          Date(s) debt was incurred June 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $37,339.00
          CortechUSA                                                            Contingent
          7500 Plaza Court                                                      Unliquidated
          Willowbrook, IL 60527                                                 Disputed
          Date(s) debt was incurred June 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $729.50
          CPI                                                                   Contingent
          10850 W Park Place                                                    Unliquidated
          Suite 600                                                             Disputed
          Milwaukee, WI 53224
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      September 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 21 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 22 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Crozer-Keystone Health System                                         Contingent
          PO Box 8500-5205                                                      Unliquidated
          Philadelphia, PA 19178                                                Disputed
          Date(s) debt was incurred May 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,000.00
          D.N.E. LLC                                                            Contingent
          3570 Hamilton Blvd                                                    Unliquidated
          Allentown, PA 18103                                                   Disputed
          Date(s) debt was incurred      November 2014                       Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,250.00
          DCA Financial                                                         Contingent
          724 Davis Road                                                        Unliquidated
          Barrington, NJ 08007                                                  Disputed
          Date(s) debt was incurred      February 2015                       Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $930.00
          Delaware Valley Community Health                                      Contingent
          1412 Fairmount Avenue                                                 Unliquidated
          2nd Floor                                                             Disputed
          Philadelphia, PA 19130
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred January 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $165.99
          Depot International                                                   Contingent
          Dept Ch 17622                                                         Unliquidated
          Palatine, IL 60055-7522                                               Disputed
          Date(s) debt was incurred February 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,057.66
          Depuy Synthes Sales Inc                                               Contingent
          PO Box 8538-662                                                       Unliquidated
          Philadelphia, PA 19171-0662                                           Disputed
          Date(s) debt was incurred October 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,510.75
          Dispute Resolution Institute                                          Contingent
          Two Logan Square Suite 660                                            Unliquidated
          Philadelphia, PA 19103                                                Disputed
          Date(s) debt was incurred June 2015
                                                                             Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 22 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 23 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $53,246.26
          District 1199C NUHHCE Group Legal Fund                                Contingent
          Nicole Nicholas, Administrator                                        Unliquidated
          1319 Locust Street
                                                                                Disputed
          Philadelphia, PA 19107
          Date(s) debt was incurred Various Times
                                                                             Basis for the claim:    Union Contract
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $40,000.00
          District 1199C Training & Upgrading Fund                              Contingent
          Cheryl Feldman, Executive Director                                    Unliquidated
          100 S. Broad Street,
                                                                                Disputed
          Philadelphia, PA 19110
          Date(s) debt was incurred October 2016
                                                                             Basis for the claim:    Union Contract
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,933.10
          Draeger Medical Inc.                                                  Contingent
          PO Box 536432                                                         Unliquidated
          Pittsburgh, PA 15253-5906                                             Disputed
          Date(s) debt was incurred November 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,416.41
          Drexel University College of Medicine                                 Contingent
          1427 Vine Street                                                      Unliquidated
          Rm 405                                                                Disputed
          Philadelphia, PA 19102
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred October 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,354.58
          Easton Chemical                                                       Contingent
          PO Box 25915                                                          Unliquidated
          Baltimore, MD 21224                                                   Disputed
          Date(s) debt was incurred      October 2014                        Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,962.63
          Ecolab Pest Elimination Division                                      Contingent
          PO Box 905327                                                         Unliquidated
          Charlotte, NC 28290-5327                                              Disputed
          Date(s) debt was incurred March 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,591.00
          Emergency Systems Service Company                                     Contingent
          401 O'Neill Drive                                                     Unliquidated
          Quakertown, PA 18981                                                  Disputed
          Date(s) debt was incurred October 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 23 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 24 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,110.00
          Empire Ambulance                                                      Contingent
          1987 Pioneer Road                                                     Unliquidated
          Huntingdon Valley, PA 19006                                           Disputed
          Date(s) debt was incurred November 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $850.00
          Env Services                                                          Contingent
          2880 Bergey Road                                                      Unliquidated
          Suite K                                                               Disputed
          Hatfield, PA 19440
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      June 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.106    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,630.00
          Environmental & Engineering Solutions In                              Contingent
          25 Washington Lane                                                    Unliquidated
          Wyncote, PA 19095                                                     Disputed
          Date(s) debt was incurred May 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.107    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $96.19
          ESIS                                                                  Contingent
          PO Box 6566                                                           Unliquidated
          Scranton, PA 18505                                                    Disputed
          Date(s) debt was incurred      June 2015                           Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.108    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $114,888.80
          Executive Health Resources, Inc.                                      Contingent
          3797 Momentum Place                                                   Unliquidated
          Chicago, IL 60689                                                     Disputed
          Date(s) debt was incurred October 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.109    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $473.12
          F C Haab Co. Inc.                                                     Contingent
          2314 Market Street                                                    Unliquidated
          Philadelphia, PA 19103                                                Disputed
          Date(s) debt was incurred September 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.110    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $190.00
          Faraco Knife & Slicer Co                                              Contingent
          2260 E Buck Rd                                                        Unliquidated
          Pennsburg, PA 18073                                                   Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 24 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 25 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.111    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $14,037.84
          FDR Services Corp                                                     Contingent
          44 Newmans Court                                                      Unliquidated
          Hempstead, NY 11550-4815                                              Disputed
          Date(s) debt was incurred November 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.112    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,607.50
          FNDC                                                                  Contingent
          1729 Wylie Street                                                     Unliquidated
          Philadelphia, PA 19130                                                Disputed
          Date(s) debt was incurred July 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.113    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $378.95
          Ford Motor Credit Co                                                  Contingent
          Box 220564                                                            Unliquidated
          Pittsburgh, PA 15257-2564                                             Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Lease
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.114    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Fox Chase Cancer Center                                               Contingent
          PO Box 827200                                                         Unliquidated
          Philadelphia, PA 19182-7200                                           Disputed
          Date(s) debt was incurred April 2012
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.115    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $216.00
          Fried Brothers                                                        Contingent
          467 N. 7th Street                                                     Unliquidated
          Philadelphia, PA 19123                                                Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.116    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Friends Behavioral                                                    Contingent
          4641 Roosevelt Blvd.                                                  Unliquidated
          Philadelphia, PA 19124                                                Disputed
          Date(s) debt was incurred March 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.117    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Gateway Risk Services                                                 Contingent
          1946 Menold Dr,                                                       Unliquidated
          Allison Park, PA 15101                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    NPHS Self-Insurance Plan Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 25 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 26 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.118    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,584.22
          GlaxoSmithKline Pharmaceuticals                                       Contingent
          P.O. Box 740415                                                       Unliquidated
          Atlanta, GA 30374-0415                                                Disputed
          Date(s) debt was incurred October 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.119    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $135.70
          Glenside Prescription Center                                          Contingent
          7601 Castor Avenue                                                    Unliquidated
          Philadelphia, PA 19152                                                Disputed
          Date(s) debt was incurred October 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.120    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,576.36
          Global Medical Devices, Inc.                                          Contingent
          1215 Cuyamaca Street                                                  Unliquidated
          El Cajon, CA 92020                                                    Disputed
          Date(s) debt was incurred September 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.121    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $486.69
          Grainger                                                              Contingent
          Dept. 883187452                                                       Unliquidated
           IL 60036-0001                                                        Disputed
          Date(s) debt was incurred      August 2013                         Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.122    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,714.56
          Hahnemann University Hospital                                         Contingent
          Broad and Vine Streets                                                Unliquidated
          Philadelphia, PA 19102
                                                                                Disputed
          Date(s) debt was incurred February 2011
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.123    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $49.90
          Hardy Diagnostics Inc.                                                Contingent
          PO Box 715625                                                         Unliquidated
          Columbus, OH 43271                                                    Disputed
          Date(s) debt was incurred March 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.124    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,099.70
          Health Mats Company                                                   Contingent
          100 Pennell Street                                                    Unliquidated
          Chester, PA 19013                                                     Disputed
          Date(s) debt was incurred December 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 26 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 27 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.125    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,883.50
          Hill-Rom                                                              Contingent
          PO Box 643592                                                         Unliquidated
          Pittsburgh, PA 15264-3592                                             Disputed
          Date(s) debt was incurred October 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.126    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $188.37
          Hobart Service                                                        Contingent
          ITW Food Equip. Group LLC                                             Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred September 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.127    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,963.64
          Hologic Inc.                                                          Contingent
          24506 Network Place                                                   Unliquidated
          Chicago, IL 60673-1245                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.128    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $167.45
          Hubert Company                                                        Contingent
          25401 Network Place                                                   Unliquidated
          Chicago, IL 60673-1254                                                Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.129    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,350.00
          Human Capital Consulting                                              Contingent
          5 Neshaminy Interplex                                                 Unliquidated
          Trevose, PA 19053                                                     Disputed
          Date(s) debt was incurred October 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.130    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,162.61
          Imaging Services                                                      Contingent
          15 Birmingham Court                                                   Unliquidated
          Felton, DE 19943-3036                                                 Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.131    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,022.27
          Immucor Inc                                                           Contingent
          P.O. Box 102118                                                       Unliquidated
          Atlanta, GA 30368-2118                                                Disputed
          Date(s) debt was incurred November 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 27 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 28 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.132    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $301.65
          Improved Office Systems                                               Contingent
          1117 Wilde Ave                                                        Unliquidated
          Drexel Hill, PA 19026                                                 Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.133    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $10,660,445.00
          Independence Blue Cross                                               Contingent
          Attn: Jessica Tamaccio, Director Premium                              Unliquidated
          1901 Market Street                                                    Disputed
          Philadelphia, PA 19103-1480
                                                                             Basis for the claim:    Employee Health Insurance Premiums
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.134    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $750.00
          Innovative Equity                                                     Contingent
          PO Box 602                                                            Unliquidated
          Montgomeryville, PA 18936                                             Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.135    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,500.00
          Inspira Medical Center                                                Contingent
          Billing Office                                                        Unliquidated
          Woodbury, NJ 08096-1697                                               Disputed
          Date(s) debt was incurred September 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.136    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $71,630.06
          Integra Lifesciences Corp                                             Contingent
          PO Box 404129                                                         Unliquidated
          Atlanta, GA 30384-4129                                                Disputed
          Date(s) debt was incurred September 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.137    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $654.69
          International Union-SPFPA                                             Contingent
          Finance Department                                                    Unliquidated
          25510 Kelly Road                                                      Disputed
          Roseville, MI 48066
                                                                             Basis for the claim:    Union Contract
          Date(s) debt was incurred October 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.138    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $203.20
          Intoximeters, Inc                                                     Contingent
          P.O. Box 798313                                                       Unliquidated
          Saint Louis, MO 63179-8000                                            Disputed
          Date(s) debt was incurred August 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                              Page 28 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 29 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.139    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,646.38
          IOD Incorporated                                                      Contingent
          P.O. Box 19025                                                        Unliquidated
          Green Bay, WI 54307-9025
                                                                                Disputed
          Date(s) debt was incurred September 2011
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.140    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $257,757.65
          Iron Mountain                                                         Contingent
          1135 Thomas Busch Memorial Highway                                    Unliquidated
          Attn: Curt Winters                                                    Disputed
          Pennsauken, NJ 08110
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred April 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.141    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Jackson Lewis, P.C.                                                   Contingent
          44 South Broadway                                                     Unliquidated
          14th Floor
                                                                                Disputed
          White Plains, NY 10601
          Date(s) debt was incurred Various Times
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.142    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,350.00
          Jeanes Hospital                                                       Contingent
          7800 Central Avenue                                                   Unliquidated
          Philadelphia, PA 19111                                                Disputed
          Date(s) debt was incurred May 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.143    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $35.00
          Jeanes Radiology                                                      Contingent
          101 Greenwood Ave                                                     Unliquidated
          Suite 151                                                             Disputed
          Jenkintown, PA 19046
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred May 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.144    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $395.00
          JobTarget LLC                                                         Contingent
          225 State Street                                                      Unliquidated
          Suite 300                                                             Disputed
          New London, CT 06320
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred July 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.145    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          John Cardullo & Sons                                                  Contingent
          703 Christian Streets                                                 Unliquidated
          Philadelphia, PA 19147                                                Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 29 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 30 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.146    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,635.69
          Johnson & Johnson                                                     Contingent
          Health Care Systems, Inc.                                             Unliquidated
          5972 Collections Ctr. Dr.                                             Disputed
          Chicago, IL 60606
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred June 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.147    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,212.51
          KCI                                                                   Contingent
          PO Box 301557                                                         Unliquidated
          Dallas, TX 75303-1557                                                 Disputed
          Date(s) debt was incurred March 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.148    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $436,398.00
          Keystone First                                                        Contingent
          200 Stevens Drive                                                     Unliquidated
          Suite 300                                                             Disputed
          Philadelphia, PA 19113
                                                                             Basis for the claim:
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.149    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,861.97
          Keystone Mercy Health                                                 Contingent
          200 Stevens Drive                                                     Unliquidated
          Philadelphia, PA 19113-1570
                                                                                Disputed
          Date(s) debt was incurred February 2007
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.150    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $105,680.85
          Keystone Quality Transport Co.                                        Contingent
          1260 E. Woodland Avenue                                               Unliquidated
          Suite 220
                                                                                Disputed
          Springfield, PA 19064
          Date(s) debt was incurred January 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.151    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,150.00
          Kreg Corporation                                                      Contingent
          101 Town Green                                                        Unliquidated
          Wilton, CT 06897                                                      Disputed
          Date(s) debt was incurred      August 2016                         Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.152    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,655.00
          L-M Service Co.                                                       Contingent
          a/k/a Lor Mar                                                         Unliquidated
          6710-A Westfield Avenue
                                                                                Disputed
          Pennsauken, NJ 08110
          Date(s) debt was incurred September 2011
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 30 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 31 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.153    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $692.50
          Laboratory Corp. of America                                           Contingent
          P.O. Box 12140                                                        Unliquidated
          Burlington, NC 27216                                                  Disputed
          Date(s) debt was incurred March 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.154    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $709.35
          Lemaitre Vascular, Inc.                                               Contingent
          P.O. Box 533177                                                       Unliquidated
          Charlotte, NC 28290-3177                                              Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.155    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,875.00
          Lions Eye Institute for                                               Contingent
          Transplant and Research, Inc.                                         Unliquidated
          1410 N. 21st Street
                                                                                Disputed
          Tampa, FL 33605
          Date(s) debt was incurred September 2010
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.156    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Livengrin Foundations                                                 Contingent
          4833 Hulmeville Road                                                  Unliquidated
          Bensalem, PA 19020                                                    Disputed
          Date(s) debt was incurred May 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.157    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $473.10
          Living Direct                                                         Contingent
          500 N. Capital of Texas Hwy                                           Unliquidated
          Austin, TX 78746                                                      Disputed
          Date(s) debt was incurred February 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.158    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $36,025.00
          Locumtenens.com                                                       Contingent
          P.O. Box 405547                                                       Unliquidated
          Atlanta, GA 30384                                                     Disputed
          Date(s) debt was incurred      August 2013                         Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.159    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $102,500.00
          Loeper & Associates                                                   Contingent
          604 North Third Street                                                Unliquidated
          Harrisburg, PA 17101                                                  Disputed
          Date(s) debt was incurred January 2015
                                                                             Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 31 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 32 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.160    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $26.07
          Lundylaw                                                              Contingent
          1635 Market Street                                                    Unliquidated
          19th Floor                                                            Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred April 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.161    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $131.88
          M&M Scrubs Dist. Inc.                                                 Contingent
          4175 Alonzo Avenue                                                    Unliquidated
          Encino, CA 91316                                                      Disputed
          Date(s) debt was incurred June 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.162    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,498.97
          M*Modal Services, Ltd.                                                Contingent
          P.O. Box 538504                                                       Unliquidated
          Atlanta, GA 30353-8504                                                Disputed
          Date(s) debt was incurred June 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.163    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,337.40
          Madden Electric Assoc. Inc.                                           Contingent
          P.O. Box 10                                                           Unliquidated
          Lansdowne, PA 19050                                                   Disputed
          Date(s) debt was incurred March 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.164    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $355.68
          Mainline Behavioral Health                                            Contingent
          101 South Bryn Mawr Avenue                                            Unliquidated
          Suite 370                                                             Disputed
          Bryn Mawr, PA 19010
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred December 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.165    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,327.00
          Major Medical, Inc.                                                   Contingent
          150 Cooper Rd                                                         Unliquidated
          West Berlin, NJ 08091                                                 Disputed
          Date(s) debt was incurred January 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.166    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,520.00
          Mallinckrodt, Inc.                                                    Contingent
          P.O. Box 3542                                                         Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 32 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 33 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.167    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $75,000.00
          Marcum LLP                                                            Contingent
          1600 Market Street                                                    Unliquidated
          32nd Floor                                                            Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Accounting Services
          Date(s) debt was incurred January 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.168    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $83,589.12
          Marshall Dennehey Warner Coleman                                      Contingent
          2000 Market Street                                                    Unliquidated
          Suite 2300
                                                                                Disputed
          Philadelphia, PA 19103
          Date(s) debt was incurred January 2012
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.169    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,438.70
          McKesson Automation                                                   Contingent
          P.O. 642164                                                           Unliquidated
          Pittsburgh, PA 15264-2164
                                                                                Disputed
          Date(s) debt was incurred March 2011
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.170    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,828.34
          McKesson Technologies Inc.                                            Contingent
          22423 Network Place                                                   Unliquidated
          Chicago, IL 60673-1224                                                Disputed
          Date(s) debt was incurred June 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.171    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $915.50
          McNees Wallace & Nurick LLC                                           Contingent
          P.O. Box 1166                                                         Unliquidated
          Harrisburg, PA 17108                                                  Disputed
          Date(s) debt was incurred January 2016
                                                                             Basis for the claim:    Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.172    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $31.92
          Med One Capital Inc.                                                  Contingent
          P.O. Box 271128                                                       Unliquidated
          Salt Lake City, UT 84127                                              Disputed
          Date(s) debt was incurred May 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.173    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $18,000.00
          Medassets Inc.                                                        Contingent
          P.O. Box 405652                                                       Unliquidated
          Atlanta, GA 30384-5652                                                Disputed
          Date(s) debt was incurred May 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 33 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 34 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.174    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $20,908.00
          Medco (Express Scripts)                                               Contingent
                                                                                Unliquidated
          Date(s) debt was incurred
                                                                                Disputed
          Last 4 digits of account number
                                                                             Basis for the claim:    Trade debt
                                                                             Is the claim subject to offset?     No       Yes

 3.175    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $266,000.00
          Medhost                                                               Contingent
          6550 Carothers Pkwy #160                                              Unliquidated
          Attn: Kenneth D. Misch, CFO                                           Disputed
          Franklin, TN 37067
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.176    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $23,396.72
          Medical Components, Inc.                                              Contingent
          1499 Delp Drive                                                       Unliquidated
          Harleysville, PA 19438                                                Disputed
          Date(s) debt was incurred December 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.177    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $2,715,363.00
          Medicare                                                              Contingent
          Attn: John David Smith, Manager                                       Unliquidated
          7500 Security Blvd.
                                                                                Disputed
          Baltimore, MD 21244-1850
          Date(s) debt was incurred
                                                                             Basis for the claim:    Hospital Cost Report Adjustments
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.178    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $84,029.00
          Medicare Part B                                                       Contingent
          Medicare Premium Collection Center                                    Unliquidated
          P.O. Box 790355
                                                                                Disputed
          Saint Louis, MO 63179-0355
          Date(s) debt was incurred June 2016
                                                                             Basis for the claim:    Medicare Premiums
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.179    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,936.00
          Medicus Health                                                        Contingent
          4767 Broadmoor Avenue SE                                              Unliquidated
          Suite 6                                                               Disputed
          Grand Rapids, MI 49512
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred June 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.180    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $900.00
          Medimizer Inc.                                                        Contingent
          1042 North Camino Real                                                Unliquidated
          Suite B423                                                            Disputed
          Encinitas, CA 92024
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred December 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 34 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 35 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.181    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $199.93
          Medivators Inc.                                                       Contingent
          N.W. 9841                                                             Unliquidated
          P.O. Box 1450
                                                                                Disputed
          Minneapolis, MN 55485
          Date(s) debt was incurred November 2012
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.182    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,726.19
          Medline Industries Inc.                                               Contingent
          Box 382075                                                            Unliquidated
          Harrisville, WV 26362-8075                                            Disputed
          Date(s) debt was incurred August 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.183    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $38.25
          Medtox Laboratories Inc.                                              Contingent
          P.O. Box 8107                                                         Unliquidated
          Burlington, NC 27216-8107                                             Disputed
          Date(s) debt was incurred November 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.184    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $687.00
          Mentor Worldwide LLC                                                  Contingent
          15600 Collections Center                                              Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred March 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.185    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,679.62
          Mercy Life                                                            Contingent
          1936 South Broad Street                                               Unliquidated
          Philadelphia, PA 19145
                                                                                Disputed
          Date(s) debt was incurred June 2010
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.186    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,836.50
          Mid-South Telecom, LLC                                                Contingent
          P.O. Box 2044                                                         Unliquidated
          Dept. 4100                                                            Disputed
          Memphis, TN 38101
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred August 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.187    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $83,620.00
          Milestone Healthcare                                                  Contingent
          275 W Campbell Rd Suite #300                                          Unliquidated
          Richardson, TX 75080
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 35 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 36 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.188    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $11,896.00
          Miller Bros.                                                          Contingent
          301 Alan Wood Road                                                    Unliquidated
          Conshohocken, PA 19428                                                Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.189    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,656.00
          Mimedx Group, Inc.                                                    Contingent
          1775 West Oak Commons Ct Ne                                           Unliquidated
          Marietta, GA 30062                                                    Disputed
          Date(s) debt was incurred July 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.190    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          Mohammad Sayeed, M.D.                                                 Contingent
          201 Foulke Lane                                                       Unliquidated
          Springfield, PA 19064                                                 Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.191    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,200.00
          Monet Medical, Inc.                                                   Contingent
          255 West Central Avenue                                               Unliquidated
          Salt Lake City, UT 84107
                                                                                Disputed
          Date(s) debt was incurred September 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.192    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,806.00
          Morris Systems                                                        Contingent
          P.O. Box 6769                                                         Unliquidated
          McKinney, TX 75071                                                    Disputed
          Date(s) debt was incurred      January 2016                        Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.193    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,000.00
          Morrisey Associates, Inc.                                             Contingent
          222 South Riverside Plaza                                             Unliquidated
          Chicago, IL 60606                                                     Disputed
          Date(s) debt was incurred January 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.194    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,673.35
          Mortara Instrument, Inc.                                              Contingent
          7865 North 86th Street                                                Unliquidated
          Milwaukee, WI 53224                                                   Disputed
          Date(s) debt was incurred January 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 36 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 37 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.195    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,797.46
          Mr. John Paone                                                        Contingent
          801 W. Girard Avenue                                                  Unliquidated
          New York, NY 10122                                                    Disputed
          Date(s) debt was incurred January 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.196    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $370.00
          Mr. Russell Neugebauer                                                Contingent
          676 N 15th St                                                         Unliquidated
          Philadelphia, PA 19130                                                Disputed
          Date(s) debt was incurred April 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.197    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,461.54
          Mr. Vincent D. Gordon                                                 Contingent
          466 Brookfield Road                                                   Unliquidated
          Drexel Hill, PA 19026                                                 Disputed
          Date(s) debt was incurred November 2015
                                                                             Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.198    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $81,700.00
          Mt. Vernon Partnership                                                Contingent
          228 Leona Avenue                                                      Unliquidated
          Huntingdon Valley, PA 19006                                           Disputed
          Date(s) debt was incurred September 2014
                                                                             Basis for the claim:    Consulting Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.199    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,387.15
          Musculoskeletal Transplants                                           Contingent
          P.O. Box 415911                                                       Unliquidated
          Boston, MA 02241                                                      Disputed
          Date(s) debt was incurred June 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.200    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $519.57
          Musician’s Friend Inc.                                                Contingent
          P.O. Box 7479                                                         Unliquidated
          Westlake Village, CA 91359                                            Disputed
          Date(s) debt was incurred August 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.201    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,343.60
          National Union Ins. Co.                                               Contingent
          1319 Locust Street                                                    Unliquidated
          Philadelphia, PA 19107                                                Disputed
          Date(s) debt was incurred November 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 37 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 38 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.202    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,279.80
          National Union of Hospital & Healthcare                               Contingent
          Employees, 1199C                                                      Unliquidated
          1319 Locust Street                                                    Disputed
          Philadelphia, PA 19107
                                                                             Basis for the claim:    Union Contract
          Date(s) debt was incurred November 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.203    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,574.82
          NCS Pearson, Inc.                                                     Contingent
          13036 Collection Ctr. Dr.                                             Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred March 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.204    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,364.76
          Nelbud Services Group                                                 Contingent
          51 Koweba Lane                                                        Unliquidated
          Indianapolis, IN 46201                                                Disputed
          Date(s) debt was incurred November 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.205    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $52,624.46
          Netsmart Technologies, Inc.                                           Contingent
          P.O. Box 823519                                                       Unliquidated
          Philadelphia, PA 19182-3519                                           Disputed
          Date(s) debt was incurred October 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.206    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,227.00
          Northeast Fence & Iron Works                                          Contingent
          8451 Hegerman Street                                                  Unliquidated
          Philadelphia, PA 19136                                                Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.207    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,461,044.00
          NPHS Money Purchase Pension Plan                                      Contingent
          801 W. Girard Avenue
                                                                                Unliquidated
          Philadelphia, PA 19122
                                                                                Disputed
          Date(s) debt was incurred 1990
          Last 4 digits of account number                                    Basis for the claim:    Interest Obligations to Pension Plan Frozen in 1995
                                                                             Is the claim subject to offset?     No       Yes

 3.208    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,650,048.00
          NPHS Self Insurance Trust                                             Contingent
          801 W. Girard Avenue
                                                                                Unliquidated
          Attn: Chief Financial Officer
          Philadelphia, PA 19122                                                Disputed

          Date(s) debt was incurred Various Times                                           Obligations relating to self insured medical
                                                                             Basis for the claim:
          Last 4 digits of account number                                    malpractice and general liability claims
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 38 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 39 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.209    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,400.00
          Nthrive, Inc.                                                         Contingent
          P.O. Box 405652                                                       Unliquidated
          Atlanta, GA 30384-5652                                                Disputed
          Date(s) debt was incurred August 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.210    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          Nutrition Management Services                                         Contingent
          2071 Kimberton Rd,                                                    Unliquidated
          Kimberton, PA 19442                                                   Disputed
          Date(s) debt was incurred 2015-2016
                                                                             Basis for the claim:    Dietary and Environmental Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.211    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $10,325.62
          Office Basic Inc.                                                     Contingent
          P.O. Box 2230                                                         Unliquidated
          Marcus Hook, PA 19061                                                 Disputed
          Date(s) debt was incurred October 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.212    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,666.48
          Olympus America, Inc.                                                 Contingent
          P.O. Box 120600                                                       Unliquidated
          Dallas, TX 75312-0600                                                 Disputed
          Date(s) debt was incurred July 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.213    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $94.46
          Optum                                                                 Contingent
          P.O. Box 88050                                                        Unliquidated
          Chicago, IL 60680-1050                                                Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.214    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,947.24
          Orkin                                                                 Contingent
          100 Henderson Dr                                                      Unliquidated
          Bay 103                                                               Disputed
          Sharon Hill, PA 19079-1033
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred November 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.215    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $16,250.00
          Osiris Therapeutics, Inc.                                             Contingent
          P.O. Box 37553                                                        Unliquidated
          Baltimore, MD 21297-3553                                              Disputed
          Date(s) debt was incurred April 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 39 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 40 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.216    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,775.00
          OT Medical                                                            Contingent
          100 Springhouse Drive                                                 Unliquidated
          Suite 108                                                             Disputed
          Collegeville, PA 19426
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred March 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.217    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $206,084.73
          Otis Elevator Company                                                 Contingent
          P.O. Box 13716                                                        Unliquidated
          Newark, NJ 07188-0716                                                 Disputed
          Date(s) debt was incurred May 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.218    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Our Lady of Lourdes Medical Center                                    Contingent
          P.O. Box 822099                                                       Unliquidated
          Philadelphia, PA 19182-2099
                                                                                Disputed
          Date(s) debt was incurred June 2012
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.219    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,050.00
          P.M. Associates                                                       Contingent
          714 N. Bethlehem Place                                                Unliquidated
          Suite 302                                                             Disputed
          Ambler, PA 19002
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred July 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.220    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $415.06
          PAC Industries Inc                                                    Contingent
          5341 Jaycee Avenue                                                    Unliquidated
          Suite 200                                                             Disputed
          Harrisburg, PA 17112
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred June 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.221    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $144.24
          Pacific Telemanagement Service                                        Contingent
          2001 Crow Canyon Rd                                                   Unliquidated
          Ste 200                                                               Disputed
          San Ramon, CA 94583
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred December 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.222    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $877.05
          Paetec                                                                Contingent
          P.O. Box 9001111                                                      Unliquidated
          Louisville, KY 40290-1111                                             Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 40 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 41 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.223    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $15,955.00
          Parts Source Inc.                                                     Contingent
          P.O. Box 645186                                                       Unliquidated
          Cincinnati, OH 45264-5185                                             Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.224    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $59,555.55
          Paths LLC                                                             Contingent
          9 Executive Campus                                                    Unliquidated
          Cherry Hill, NJ 08002                                                 Disputed
          Date(s) debt was incurred      January 2013                        Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.225    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $578.60
          Patterson Medical                                                     Contingent
          Sammons Preston                                                       Unliquidated
          P.O. Box 93040                                                        Disputed
          Chicago, IL 60673
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      September 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.226    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $950.00
          Paul Rabinowitz Glass Company                                         Contingent
          1401-15 N American St.                                                Unliquidated
          Philadelphia, PA 19122                                                Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.227    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $669,126.33
          PECO                                                                  Contingent
          2301 Market Street                                                    Unliquidated
          Attn: Romelle Johnson, Credit Specialist                              Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Electric Utility Services
          Date(s) debt was incurred October 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.228    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,500.00
          Pennoni                                                               Contingent
          P.O. Box 827328                                                       Unliquidated
          Philadelphia, PA 19182                                                Disputed
          Date(s) debt was incurred September 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.229    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,715.00
          Pennsylvania Osteopathic Association                                  Contingent
          1330 Eisenhower Blvd                                                  Unliquidated
          Harrisburg, PA 17111-2319                                             Disputed
          Date(s) debt was incurred March 2015
                                                                             Basis for the claim:    Professional Association
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 41 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 42 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.230    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,460.00
          Pentec Health Inc.                                                    Contingent
          Attn: Ms. Erma J. Lloyd                                               Unliquidated
          PO Box 673660                                                         Disputed
          Detroit, MI 48267
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred January 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.231    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,722.82
          Pharmedium Services, LLC                                              Contingent
          39797 Treasury Center                                                 Unliquidated
          Chicago, IL 60694                                                     Disputed
          Date(s) debt was incurred February 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.232    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $800.00
          Phila Medical Billing Inc.                                            Contingent
          PO Box 1628                                                           Unliquidated
          Horsham, PA 19044-6628                                                Disputed
          Date(s) debt was incurred 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.233    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $250.00
          Philadelphia HFMA Paths, LLC                                          Contingent
          9 Executive Campus                                                    Unliquidated
          Cherry Hill, NJ 08002                                                 Disputed
          Date(s) debt was incurred November 2013
                                                                             Basis for the claim:    Professional Association
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.234    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $86,052.74
          Philips Healthcare                                                    Contingent
          PO Box 100355                                                         Unliquidated
          Atlanta, GA 30384-0355                                                Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.235    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,521.42
          Pitney Bowes Global Financial Services                                Contingent
          PO Box 371887                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred April 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.236    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $75.00
          Podiatry Residence Resource Inc.                                      Contingent
          445 Filmore Street                                                    Unliquidated
          San Francisco, CA 94117                                               Disputed
          Date(s) debt was incurred August 2015
                                                                             Basis for the claim:    Professional Association
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 42 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 43 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.237    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $25,200.00
          Pogos H. Voskanian, M.D.                                              Contingent
          1889 Nicholas Drive                                                   Unliquidated
          Huntingdon Valley, PA 19006                                           Disputed
          Date(s) debt was incurred July 2016
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.238    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $26,997.90
          Praxair Distribution Mid-Atlantic                                     Contingent
          PO Box 382000                                                         Unliquidated
          Pittsburgh, PA 15250                                                  Disputed
          Date(s) debt was incurred November 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.239    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,781.50
          Preferred Medical Transport                                           Contingent
          151 Discovery Drive                                                   Unliquidated
          Suite 108                                                             Disputed
          Colmar, PA 18915
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred September 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.240    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $51,602.66
          Premier Healthcare                                                    Contingent
          5882 Collections Center Drive                                         Unliquidated
          Chicago, IL 60693
                                                                                Disputed
          Date(s) debt was incurred March 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.241    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,600.00
          Present Podiatry E-Learning Systems                                   Contingent
          Attn: Michael Shore, DPM                                              Unliquidated
          5301 N. Federal Hwy.                                                  Disputed
          Boca Raton, FL 33487
                                                                             Basis for the claim:    Professional Fees
          Date(s) debt was incurred April 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.242    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $323.40
          PRS                                                                   Contingent
          PO Box 415000                                                         Unliquidated
          Nashville, TN 37241                                                   Disputed
          Date(s) debt was incurred      April 2015                          Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.243    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $550.00
          Psyc-Careers/Boxwood Tech                                             Contingent
          113500 McCormick Road                                                 Unliquidated
          Executive Plaza III                                                   Disputed
          Philadelphia, PA 19106
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred July 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 43 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 44 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.244    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $201.95
          Purchase Power                                                        Contingent
          PO Box 371874                                                         Unliquidated
          Pittsburgh, PA 15250-7874                                             Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.245    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,791.70
          Quantum, Inc.                                                         Contingent
          240 South 9th Street                                                  Unliquidated
          Philadelphia, PA 19107                                                Disputed
          Date(s) debt was incurred December 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.246    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $33,196.26
          Quest Diagnostics                                                     Contingent
          PO Box 828669                                                         Unliquidated
          Philadelphia, PA 19182-8669
                                                                                Disputed
          Date(s) debt was incurred January 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.247    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,288.00
          R.A.M.M. Inc.                                                         Contingent
          15 Union Hill Road                                                    Unliquidated
          Suite 100                                                             Disputed
          Conshohocken, PA 19428
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred November 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.248    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,200.00
          Ralph H. Colflesh, Jr., Esquire                                       Contingent
          13 Michener Pl.                                                       Unliquidated
          Marlton, NJ 08053                                                     Disputed
          Date(s) debt was incurred October 2013
                                                                             Basis for the claim:    Arbitration Legal Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.249    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $229.00
          RC Medical Inc.                                                       Contingent
          284 Merrow Road                                                       Unliquidated
          PO Box 833                                                            Disputed
          Tolland, CT 06084
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      May 2014
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.250    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $526.80
          Ready Refresh By Nestle                                               Contingent
          PO Box 856192                                                         Unliquidated
          Louisville, KY 40285                                                  Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 44 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 45 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.251    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,920.34
          Reclamere                                                             Contingent
          905 Pennsylvania                                                      Unliquidated
          Tyrone, PA 16686                                                      Disputed
          Date(s) debt was incurred      December 2015                       Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.252    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                $30.00
          Relayhealth, Inc.                                                     Contingent
          PO Box 403421                                                         Unliquidated
          Atlanta, GA 30384-3421                                                Disputed
          Date(s) debt was incurred February 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.253    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,608.50
          Research & Marking Strategies, Inc.                                   Contingent
          15 E. Genesee Street                                                  Unliquidated
          Suite 210                                                             Disputed
          Baldwinsville, NY 13027
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred December 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.254    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          Respitech Medical Inc.                                                Contingent
          250 Ranck Avenue                                                      Unliquidated
          Lancaster, PA 17602                                                   Disputed
          Date(s) debt was incurred April 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.255    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $500.00
          Retreat at Lancaster County                                           Contingent
          1170 South State Street                                               Unliquidated
          Ephrata, PA 17522                                                     Disputed
          Date(s) debt was incurred August 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.256    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,805.00
          Richard Weyler, M.D.                                                  Contingent
          320 Walnut Street                                                     Unliquidated
          Apt. G3                                                               Disputed
          Philadelphia, PA 19106
                                                                             Basis for the claim:    Professional Services
          Date(s) debt was incurred October 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.257    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $97,185.95
          Ricoh Americas Corp.                                                  Contingent
          P.O. Box 827577                                                       Unliquidated
          Philadelphia, PA 19182                                                Disputed
          Date(s) debt was incurred March 2016
                                                                             Basis for the claim:    Rental Payments
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 45 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 46 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.258    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Riddle Hospital                                                       Contingent
          P.O. Box 8500-1242                                                    Unliquidated
          Philadelphia, PA 19178-1242                                           Disputed
          Date(s) debt was incurred April 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.259    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $147.00
          Riehs Florist                                                         Contingent
          1020 N. 5th Street                                                    Unliquidated
          Philadelphia, PA 19123
                                                                                Disputed
          Date(s) debt was incurred March 2012
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.260    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,000.00
          Rittenhouse Imaging                                                   Contingent
          101 Greenwood Avenue                                                  Unliquidated
          Jenkintown, PA 19046                                                  Disputed
          Date(s) debt was incurred February 2016
                                                                             Basis for the claim:    Professional Services
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.261    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,287.36
          Roche Diagnostics Corp.                                               Contingent
          Mail Code 5508                                                        Unliquidated
          P.O. Box 10546                                                        Disputed
          Atlanta, GA 30348-5046
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred Octobeer 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.262    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $558.18
          Roto-Rooter Services, Co.                                             Contingent
          5272 Collections Center Drive                                         Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred March 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.263    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $472,595.00
          Royal Bank America Leasing L.P.                                       Contingent
          550 Township Line Road, Suite 425                                     Unliquidated
          Attn: Keith A. Brinks, Managing Partner
                                                                                Disputed
          Blue Bell, PA 19422
          Date(s) debt was incurred 2015
                                                                             Basis for the claim:    Lease Obligations
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.264    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $758.20
          RR Donnelley                                                          Contingent
          P.O. Box 538602                                                       Unliquidated
          Atlanta, GA 30353                                                     Disputed
          Date(s) debt was incurred      January 2016                        Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 46 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 47 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.265    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $12,500.00
          S.R. Wojdak & Associates                                              Contingent
          200 South Broad Street                                                Unliquidated
          Suite 850                                                             Disputed
          Philadelphia, PA 19102
                                                                             Basis for the claim:    Consulting Services
          Date(s) debt was incurred June 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.266    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,875.00
          Sage                                                                  Contingent
          506 Deanne Lane                                                       Unliquidated
          Charleston, SC 29492                                                  Disputed
          Date(s) debt was incurred December 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.267    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $228.32
          School Specialty, Inc.                                                Contingent
          32656 Collection Center Drive                                         Unliquidated
          Chicago, IL 60693-0326                                                Disputed
          Date(s) debt was incurred November 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.268    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,373.06
          Select Biomedical                                                     Contingent
          7275 Bush Lake Road                                                   Unliquidated
          Minneapolis, MN 55439                                                 Disputed
          Date(s) debt was incurred June 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.269    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,466.25
          Sepe Inc                                                              Contingent
          245 Fisher Ave                                                        Unliquidated
          C-4                                                                   Disputed
          Costa Mesa, CA 92627
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred October 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.270    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,192.57
          Shamrock Scientific Specialty Systems, I                              Contingent
          34 Davis Drive                                                        Unliquidated
          P.O. Box 143                                                          Disputed
          Bensenville, IL 60105
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred January 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.271    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $9,537.36
          Siemens Financial Service                                             Contingent
          P.O. Box 2083                                                         Unliquidated
          Carol Stream, IL 60132                                                Disputed
          Date(s) debt was incurred February 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 47 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 48 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.272    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,615.00
          Siemens Industry, Inc.                                                Contingent
          P.O. Box 2134                                                         Unliquidated
          Carol Stream, IL 60132-2134                                           Disputed
          Date(s) debt was incurred December 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.273    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $63,135.98
          Simplex Grinnell                                                      Contingent
          283 Gilbraltar Road                                                   Unliquidated
          Horsham, PA 19044
                                                                                Disputed
          Date(s) debt was incurred      December 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.274    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,650.00
          Sinclair Exterminating Inc.                                           Contingent
          P.O. Box 1206                                                         Unliquidated
          Chadds Ford, PA 19317                                                 Disputed
          Date(s) debt was incurred September 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.275    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,355.21
          Smith & Nephew                                                        Contingent
          Credit Dept                                                           Unliquidated
          150 Minuteman Rd                                                      Disputed
          Andover, MA 01810
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred      June 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.276    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,001.00
          Southern Computer Warehouse                                           Contingent
          P.O. Box 538035                                                       Unliquidated
          Atlanta, GA 30353-8035                                                Disputed
          Date(s) debt was incurred May 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.277    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $132,482.00
          Southwest Consulting Associates                                       Contingent
          2805 Dallas Parkway                                                   Unliquidated
          Suite 620                                                             Disputed
          Plano, TX 75093
                                                                             Basis for the claim:    Professional Services
          Date(s) debt was incurred August 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.278    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,399.38
          Spok, Inc.                                                            Contingent
          P.O. Box 660324                                                       Unliquidated
          Dallas, TX 75266                                                      Disputed
          Date(s) debt was incurred      December 2016                       Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 48 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 49 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.279    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $879.54
          Sprint                                                                Contingent
          P.O. Box 4181                                                         Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred March 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.280    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,395.00
          St Jude Medical                                                       Contingent
          22400 Network Place                                                   Unliquidated
          Chicago, IL 60673-1224                                                Disputed
          Date(s) debt was incurred August 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.281    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $30,415.90
          Staff Care Inc.                                                       Contingent
          P.O. Box 281923                                                       Unliquidated
          Atlanta, GA 30384-1923                                                Disputed
          Date(s) debt was incurred October 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.282    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          State Collections Service Inc                                         Contingent
          2509 S. Stoughton Road                                                Unliquidated
          Madison, WI 53716                                                     Disputed
          Date(s) debt was incurred October 2014
                                                                             Basis for the claim:    Collection Agency
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.283    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,400.00
          Stellen Medical                                                       Contingent
          1290 Hammond Road                                                     Unliquidated
          Saint Paul, MN 55110                                                  Disputed
          Date(s) debt was incurred October 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.284    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $34,207.01
          Stericycle                                                            Contingent
          2850 100th Court NE                                                   Unliquidated
          Carol Stream, IL 60197                                                Disputed
          Date(s) debt was incurred November 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.285    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,107.20
          Stericycle Specialty Waste Solution Inc.                              Contingent
          2850 100th Court NE                                                   Unliquidated
          Saginaw, MN 55779                                                     Disputed
          Date(s) debt was incurred March 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 49 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 50 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.286    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,561.79
          Steris Corp.                                                          Contingent
          P.O. Box 644063                                                       Unliquidated
          Pittsburgh, PA 15264                                                  Disputed
          Date(s) debt was incurred      October 2016                        Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.287    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $320.00
          STFM                                                                  Contingent
          11400 Tomahawk Creek Pkwy                                             Unliquidated
          Leawood, KS 66211                                                     Disputed
          Date(s) debt was incurred November 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.288    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $13,920.00
          Stryker Orthopedics                                                   Contingent
          P.O. Box 93213                                                        Unliquidated
          Chicago, IL 60603                                                     Disputed
          Date(s) debt was incurred      August 2015                         Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.289    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $19,734.84
          Sysmex America Inc.                                                   Contingent
          39923 Treasury Center                                                 Unliquidated
          Chicago, IL 60694-9900
                                                                                Disputed
          Date(s) debt was incurred September 2012
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.290    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,000.00
          Taffaro Marketing Group                                               Contingent
          705 Hedrick Street                                                    Unliquidated
          Salisbury, NC 28144                                                   Disputed
          Date(s) debt was incurred August 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.291    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $7,672.59
          TEI Medical                                                           Contingent
          Accts Rec Suite 4900                                                  Unliquidated
          1000 Winter Street                                                    Disputed
          Waltham, MA 02451
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred March 2015
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.292    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $80,449.09
          Temple University Hospital                                            Contingent
          Broad & Ontario Sts.                                                  Unliquidated
          Philadelphia, PA 19140                                                Disputed
          Date(s) debt was incurred September 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 50 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 51 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.293    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $315.59
          Temptime Corp                                                         Contingent
          P.O. Box 28744                                                        Unliquidated
          New York, NY 10087                                                    Disputed
          Date(s) debt was incurred      June 2015                           Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.294    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,179.20
          The Automated Office                                                  Contingent
          9 Executive Campus                                                    Unliquidated
          Cherry Hill, NJ 08002                                                 Disputed
          Date(s) debt was incurred October 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.295    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            Unknown
          The Hospital & Healthsystem Association                               Contingent
          P.O. Box 3344                                                         Unliquidated
          Harrisburg, PA 17105-3344
                                                                                Disputed
          Date(s) debt was incurred May 2014
                                                                             Basis for the claim:    Trade Association
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.296    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $104,871.00
          The Hospitals & Higher Education
          Authority of Philadelphia                                             Contingent
          1800 John F. Kennedy Blvd, Suite 1800                                 Unliquidated
          Attn: James P. Baker, President                                       Disputed
          Philadelphia, PA 19103
                                                                             Basis for the claim:    Bond Issuance Services
          Date(s) debt was incurred 1997
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.297    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,100.00
          The Poison Control Center                                             Contingent
          34th Street & Civic Center Blvd.                                      Unliquidated
          Philadelphia, PA 19104-4399                                           Disputed
          Date(s) debt was incurred October 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.298    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $295.00
          The Veteran Journal, Inc.                                             Contingent
          11024 Balboa Blvd                                                     Unliquidated
          Suite 417                                                             Disputed
          Granada Hills, CA 91344
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred October 2013
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.299    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,750.00
          Thomas Jefferson University Hospital                                  Contingent
          129 South 9th Street                                                  Unliquidated
          Philadelphia, PA 19107                                                Disputed
          Date(s) debt was incurred December 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 51 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 52 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.300    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,830.00
          Time & Parking Controls                                               Contingent
          7716 West Chester Pike                                                Unliquidated
          Upper Darby, PA 19082
                                                                                Disputed
          Date(s) debt was incurred July 2011
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.301    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $205.91
          TPS IV of PA LLC                                                      Contingent
          230 N Broad Street                                                    Unliquidated
          Philadelphia, PA 19102-1121
                                                                                Disputed
          Date(s) debt was incurred November 2011
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.302    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,861.92
          United Healthcare Insurance Company                                   Contingent
          P.O. Box 101760                                                       Unliquidated
          Atlanta, GA 30392                                                     Disputed
          Date(s) debt was incurred October 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.303    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,544.82
          United Rentals, Inc.                                                  Contingent
          P.O. Box 100711                                                       Unliquidated
          Atlanta, GA 30384-0711                                                Disputed
          Date(s) debt was incurred October 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.304    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $3,330.00
          Universal Hospital Services, Inc.                                     Contingent
          P.O. Box 851313                                                       Unliquidated
          Minneapolis, MN 55485-1313                                            Disputed
          Date(s) debt was incurred Mrch 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.305    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          University of Pennsylvania Health System                              Contingent
          HUP Patient Pay                                                       Unliquidated
          P.O. Box 824336                                                       Disputed
          Philadelphia, PA 19182
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred March 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.306    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,407.00
          UNUM                                                                  Contingent
          P.O. Box 406946                                                       Unliquidated
          Atlanta, GA 30384-6946                                                Disputed
          Date(s) debt was incurred November 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 52 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 53 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.307    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $6,000.00
          US Bank                                                               Contingent
          CM-9690                                                               Unliquidated
          Saint Paul, MN 55170-9690                                             Disputed
          Date(s) debt was incurred July 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.308    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $252.08
          Verizon                                                               Contingent
          P.O. Box 4832                                                         Unliquidated
          Trenton, NJ 08650-4832                                                Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.309    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $263,791.94
          Verizon I                                                             Contingent
          P.O. Box 15124                                                        Unliquidated
          Albany, NY 12212-5124                                                 Disputed
          Date(s) debt was incurred May 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.310    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $2,604.10
          Verizon Wireless                                                      Contingent
          PO Box 660108                                                         Unliquidated
          Dallas, TX 75266-0108                                                 Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.311    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,500.00
          Virtua Health                                                         Contingent
          P.O. Box 8500-8267                                                    Unliquidated
          Philadelphia, PA 19187-8267                                           Disputed
          Date(s) debt was incurred April 2015
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.312    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,206.95
          Vorizon Labs                                                          Contingent
          P.O. Box 362                                                          Unliquidated
          Callicoon Center, NY 12724                                            Disputed
          Date(s) debt was incurred September 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.313    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $8,845.43
          VWR International LLC                                                 Contingent
          P.O. Box 640169                                                       Unliquidated
          Pittsburgh, PA 15264
                                                                                Disputed
          Date(s) debt was incurred February 2014
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 53 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                              Desc
                                                            Schedule E/F Page 54 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.314    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              $575.00
          W.L. Gore & Associates, Inc.                                          Contingent
          P.O. Box 751331                                                       Unliquidated
          Charlotte, NC 28275                                                   Disputed
          Date(s) debt was incurred October 2013
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.315    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $17,200.00
          Walker Communications                                                 Contingent
          7901 Henry Avenue                                                     Unliquidated
          Apt. B505                                                             Disputed
          Philadelphia, PA 19128
                                                                             Basis for the claim:    Consulting Services
          Date(s) debt was incurred September 2016
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.316    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $1,850.00
          Walter DeTreux, Esquire                                               Contingent
          P.O. Box 11567                                                        Unliquidated
          Philadelphia, PA 19116                                                Disputed
          Date(s) debt was incurred September 2015
                                                                             Basis for the claim:    Legal Services Arbitration
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.317    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.        $130,000.00
          Wanda Hall                                                            Contingent
          c/o Robert A. Gelinas, Esquire                                        Unliquidated
          22 S 18th Street
                                                                                Disputed
          Philadelphia, PA 19103
          Date(s) debt was incurred 2014
                                                                             Basis for the claim:    Premises Liability
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.318    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $5,239.50
          Wasserstrom Co.                                                       Contingent
          477 S. Front Street                                                   Unliquidated
          Columbus, OH 43215
                                                                                Disputed
          Date(s) debt was incurred      February 2012
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.319    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.            $4,963.09
          Waste Management of Philadelphia-South                                Contingent
          P.O. Box 13648                                                        Unliquidated
          Philadelphia, PA 19101-3648                                           Disputed
          Date(s) debt was incurred December 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.320    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.          $21,791.00
          Wayman Fire Protection, Inc.                                          Contingent
          403 Meco Drive                                                        Unliquidated
          Wilmington, DE 19804                                                  Disputed
          Date(s) debt was incurred October 2016
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                             Page 54 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
             Case 16-18931-mdc                         Doc 154-1 Filed 02/13/17 Entered 02/13/17 18:01:29                                               Desc
                                                            Schedule E/F Page 55 of 55
 Debtor       North Philadelphia Health System                                                        Case number (if known)            16-18931-mdc
              Name

 3.321     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.            $128,772.00
           Wellsoft                                                             Contingent
           27 World’s Fair Drive                                                Unliquidated
           Somerset, NJ 08873                                                   Disputed
           Date(s) debt was incurred     February 2013                       Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.322     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $9,196.12
           Werfen USA LLC                                                       Contingent
           P.O. Box 347934                                                      Unliquidated
           Pittsburgh, PA 15251-4934                                            Disputed
           Date(s) debt was incurred January 2016
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes

 3.323     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $305.64
           William Laboratories, Inc.                                           Contingent
           5 Anngina Drive                                                      Unliquidated
           Unit B                                                               Disputed
           Enfield, CT 06082
                                                                             Basis for the claim:    Trade debt
           Date(s) debt was incurred July 2013
           Last 4 digits of account number                                   Is the claim subject to offset?       No     Yes


 3.324     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $21,120.00
           Wright Medical Technology, Inc.                                      Contingent
           P.O. Box 503482                                                      Unliquidated
           Saint Louis, MO 63150-3482                                           Disputed
           Date(s) debt was incurred September 2015
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?       No     Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                        Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.        $                       46,359.08
 5b. Total claims from Part 2                                                                            5b.   +    $                   28,926,174.77

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.        $                      28,972,533.85




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 55 of 55
Software Copyright (c) 1996-2016 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
